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                                                                               u.f.o'lR~    PouRT
                                                                           EASTERN DISTRICT ARKANSAS
                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS                       AUG 19 2014
                                  WESTERN DIVISION


UNITED STATES OF AMERICA                                                              PLAINTIFF

VS.                                CASE NO. 4:14CR00147-03 SWW

MARCOS AGUIRRE-GARCIA                                                               DEFENDANT



                                             ORDER

       The Defendant in the above-styled case is not well-versed in the English language and is

unable to understand and comprehend the proceedings being conducted. The Court therefore directs

that an interpreter be appointed, pursuant to Rule 28 of the Federal Rules of Criminal Procedure, to

enable the Defendant to communicate with and comprehend the presiding judicial officers and other

parties at any and all proceedings conducted in Court.

       IT IS ORDERED that the Clerk is to appoint a qualified interpreter to assist the Defendant,

counsel, and the Court at any and all court proceedings in this case.

       IT IS SO ORDERED, this        t9 day of August, 2014.



                                              UNITED STATES MAGISTRATE JUDGE
